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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Travel Caddy, Inc.
                             Plaintiff,
v.                                                Case No.: 1:15−cv−02433
                                                  Honorable Matthew F. Kennelly
ECBC, Inc.
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 28, 2015:


        MINUTE entry before the Honorable Matthew F. Kennelly: Rule 16(b) status
hearing held on 5/28/2015 with only plaintiff's attorney appearing. The parties have
reached a settlement, subject to documentation. Status hearing is continued to 6/15/2015
at 9:00 a.m. Mailed notice.(pjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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